               Case 23-11240-TMH             Doc 592       Filed 01/03/24        Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re                                                         Chapter 11

AMERIFIRST FINANCIAL, INC., et al.,1                          Case No. 23-11240 (TMH)

                         Debtors.                             (Jointly Administered)
                                                              Hearing Date:
                                                              January 10, 2024, at 1:00 p.m. (ET)




  NOTICE OF HEARING DATE REGARDING MOTION OF THE COMMITTEE OF
  UNSECURED CREDITORS OF AMERIFIRST FINANCIAL, INC., ET AL. FOR AN
 ORDER GRANTING (I) LEAVE, STANDING, AND AUTHORITY TO COMMENCE
 AND PROSECUTE CERTAIN CLAIMS ON BEHALF OF THE DEBTORS’ ESTATES
AND (II) EXCLUSIVE SETTLEMENT AUTHORITY IN RESPECT OF SUCH CLAIMS

        PLEASE TAKE NOTICE that on November 21, 2023, the Official Committee of
Unsecured Creditors (the “Committee”) of AmeriFirst Financial, Inc., et al. filed the Motion of the
Official Committee of Unsecured Creditors of AmeriFirst Financial, Inc., et al. for an Order
Granting (I) Leave, Standing, and Authority to Commence and Prosecute Certain Claims on
Behalf of the Debtors' Estates and (II) Exclusive Settlement Authority in Respect of Such
Claims (D.I. 470) (the “Standing Motion”) with the United States Bankruptcy Court for the
District of Delaware (the “Court”).

      PLEASE TAKE FURTHER NOTICE that at the December 18, 2023, hearing, oral
argument regarding the Standing Motion began but was not completed.

      PLEASE TAKE FURTHER NOTICE THAT, AT THE DISCRETION OF THE
COURT, A HEARING ON THE STANDING MOTION SHALL BE HELD ON JANUARY 10,
2024, AT 1:00 P.M. (ET) BEFORE THE HONORABLE THOMAS M. HORAN AT THE
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824
MARKET STREET, 3RD FLOOR, COURTROOM #7, WILMINGTON, DELAWARE 19801.




1
        The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
        Phoenix 1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W.
        Chandler Boulevard, Suite 225, Unit 236, Chandler, AZ 85225.
             Case 23-11240-TMH     Doc 592     Filed 01/03/24   Page 2 of 2




Dated: January 3, 2024           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                 /s/ Daniel B. Butz
                                 Donna L. Culver (No. 2983)
                                 Robert J. Dehney, Sr. (No. 3578)
                                 Eric D. Schwartz (No. 3134)
                                 Daniel B. Butz (No. 4227)
                                 Evanthea Hammer (No. 7061)
                                 1201 North Market Street, 16th Floor
                                 P.O. Box 1347
                                 Wilmington, Delaware 19899-1347
                                 Telephone: (302) 658-9200
                                 Facsimile: (302) 658-3989
                                 Email: dculver@morrisnichols.com
                                        rdehney@morrisnichols.com
                                        eschwartz@morrisnichols.com
                                        dbutz@morrisnichols.com
                                        ehammer@morrisnichols.com

                                 COUNSEL FOR OFFICIAL COMMITTEE OF
                                 UNSECURED CREDITORS
                                 - and -

                                 GLENN AGRE BERGMAN & FUENTES LLP
                                 Andrew K. Glenn (admitted pro hac vice)
                                 Kurt A. Mayr (admitted pro hac vice)
                                 Malak S. Doss (admitted pro hac vice)
                                 1185 Avenue of the Americas, 22nd Floor
                                 New York, New York 10036
                                 Telephone: (212) 970-1600
                                 Email: aglenn@glennagre.com
                                        kmayr@glennagre.com
                                        mdoss@glennagre.com

                                 PROPOSED SPECIAL LITIGATION COUNSEL
                                 FOR OFFICIAL COMMITTEE OF UNSECURED
                                 CREDITORS




                                           2
